        Case 3:23-cv-00971-AR          Document 1-1       Filed 06/30/23     Page 1 of 20




Megan J. Crowhurst, Bar No. 132311
mcrowhurst@littler.com
Ben Handy, Bar No. 226527
bhandy@littler.com
LITTLER MENDELSON P.C.
1300 SW 5th Avenue
Wells Fargo Tower - Ste 2050
Portland, Oregon 97201
Telephone:    503.221.0309
Fax No.:      503.242.2457

Attorneys for Defendant, Workday, Inc.


                                UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION

TAYLOR ERIC VAUGHN,                                                                          Case No.

                   Plaintiff,
                                                         DECLARATION OF MEGAN
       vs.                                               CROWHURST IN SUPPORT OF
                                                         DEFENDANT’S NOTICE OF
WORKDAY, INC.,                                           REMOVAL
                   Defendant.



       I, Megan J. Crowhurst, declare as follows:

       1.       I am an attorney for Defendant Workday, Inc. I make this declaration based on

personal knowledge or my review of court records and in support of Defendant’s Notice of

Removal.

       2.       Workday received service of Plaintiff’s Summons and Complaint on

June 5, 2023.

       3.       I have reviewed the electronic docket report for the Circuit Court of the State of

Oregon for the County of Multnomah in Taylor Eric Vaughn v. Workday, Inc., Case
                                                                           LITTLER MENDELSON P.C.
                                                                                    1300 SW 5th Avenue
 Page 1- DECLARATION OF MEGAN J. CROWHURST IN                               Wells Fargo Tower - Ste 2050
 SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL                                        Portland, Oregon 97201
                                                                                       Tel: 503.221.0309
         Case 3:23-cv-00971-AR           Document 1-1      Filed 06/30/23      Page 2 of 20




No. 23CV22298, which is the subject of the underlying removal action. Copies of all papers

filed in the state court action at the time of the removal, as reflected by the Circuit Court Register

of Actions, are attached to this Declaration as Exhibit A. As of the date of filing this Notice of

Removal, no further proceedings have been had in the Multnomah County Circuit Court.

         4.     Promptly after filing this Notice of Removal, my office will serve a copy upon

Plaintiff’s counsel and will file a copy with the Clerk of the Multnomah County Circuit Court,

Oregon, in accordance with 28 U.S.C. § 1446(d).

         5.     Workday has good and sufficient defenses to this action and does not waive any

defenses, jurisdictional or otherwise.

         I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated:        June 30, 2023                        Respectfully submitted,

                                                   LITTLER MENDELSON P.C.

                                                   /s/ Megan J. Crowhurst___________________
                                                   Megan J. Crowhurst, OSB No. 132311




                                                                             LITTLER MENDELSON P.C.
                                                                                      1300 SW 5th Avenue
 Page 2- DECLARATION OF MEGAN J. CROWHURST IN                                 Wells Fargo Tower - Ste 2050
 SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL                                          Portland, Oregon 97201
                                                                                         Tel: 503.221.0309
Case 3:23-cv-00971-AR   Document 1-1   Filed 06/30/23   Page 3 of 20




                        EXHIBIT A
                        Case 3:23-cv-00971-AR 6/12/2023
                                              Document11:20
                                                        1-1 AM
                                                            Filed 06/30/23                                                    Page 4 of 20
                                                  23CV22298




                                                IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                                       FOR THE COUNTY OF MULTNOMAH
TAYLOR ERIC VAUGHN,
    Plaintiff,                                                                          Case No. 23CV22298
                                         vs.

WORKDAY, INC. a foreign business corporation.                                           SUMMONS
.

Defendant.

    TO:        Defendant:                 Workday, Inc. by and through its registered Agent:
                                          C T Corporation System
                                          780 Commercial Street SE, STE 100
                                          Salem, Oregon 97301

     You are hereby required to appear and defend the complaint filed against you in the above entitled action within thirty (30) days from the date of
service of this summons upon you, and in case of your failure to do so, for want thereof, plaintiff(s) will apply to the court for the relief demanded in
the complaint.


                                                                                                  /s/ Shawn M. O’Neil
       NOTICE TO THE DEFENDANT: READ THESE PAPERS CAREFULLY!                                      SIGNATURE OF ATTORNEY/AUTHOR FOR PLAINTIFF
      You must "appear" in this case or the other side will win automatically. To                  Shawn M. O’Neil                      OSB No.913880
"appear" you must file with the court a legal paper called a "motion" or "answer." The
"motion" or "answer" must be given to the court clerk or administrator within 30 days
along with the required filing fee. It must be in proper form and have proof of service on        O’Neil Law LLC
the plaintiff's attorney or, if the plaintiff does not have an attorney, proof of service upon    ATTORNEY'S/AUTHOR'S NAME (TYPED OR PRINTED)        BAR NO. (IF ANY)
the plaintiff.
      If you have any questions, you should see an attorney immediately. If you need              8755 SW Citizens Drive, Suite 202
                                                                                                  ADDRESS
help in finding an attorney, you may call the Oregon State Bar's Lawyer Referral Service
at (503) 684-3763 or toll-free in Oregon at (800) 452-7636.                                       Wilsonville, Oregon 97070                     503.570.8755
                                                                                                  CITY                    STATE         ZIP                PHONE



                                                                                                  TRIAL ATTORNEY IF OTHER THAN ABOVE (TYPE OR PRINTED)       BAR NO.



STATE OF OREGON, County of Clackamas) ss.

          I, the undersigned attorney of record for the plaintiff, certify that the foregoing is an exact and complete copy of the original summons in
the above entitled action.
                                                                                      /s/ Shawn M, O’Neil
                                                                                    ATTORNEY OF RECORD FOR PLAINTIFF(S)

TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are hereby directed to serve a true copy of this summons, together
with a true copy of the complaint mentioned therein, upon the individual(s) or other legal entity(ies) to whom or which this summons is directed, and
to make your proof of service on the reverse hereof or upon a separate similar document which you shall attach hereto.

                                                                                                       /s/ Shawn M. O’Neil
                                                                                                     ATTORNEY FOR PLAINTIFF(S)
                                                                                                 ATTORNEY OF RECORD FOR PLAINTIFF(S)
                         Case 3:23-cv-00971-AR                          Document 1-1                 Filed 06/30/23               Page 5 of 20

                                                                          PROOF OF SERVICE

STATE OF ............................................................ ) SS.
County of .............................................................. )
          I hereby certify that I made service of the foregoing summons upon the individuals and other legal entities to be served, named below, by
delivering or leaving true copies of said summons and the complaint mentioned therein, certified to be such by the attorney for the plaintiff, as
follows:
                                                                               Personal Service Upon Individual(s)
          Upon                                                                              , by delivering such true copy to him/her, personally and in person,
at                                                                                                          , on                ,20__, at               o'clock _.M.
          Upon                                                                              , by delivering such true copy to him/her, personally and in person,
at                                                                                                          , on                ,20__, at               o'clock _.M.
                                                                            Substituted Service Upon Individual(s)**
          Upon                                                                              , by delivering such true copy at his/her dwelling house
or usual place of abode, to-wit:                                                                                                                                         ,
to                                                                                                                                                   , who is a person over the
age of 14 years and a member of the household of the person served on                                       , 20__, at          o'clock _.M.
          Upon                                                                              , by delivering such true copy at his/her dwelling house
or usual place of abode, to-wit:                                                                                                                                         ,
to                                                                                                                                                 , who is a person over the
age of 14 years and a member of the household of the person served on                                                  , 20__, at              o'clock _.M.
                                                                               Office Service Upon Individual(s)**
          Upon                                                                              , at the office which he/she maintains for the conduct of
business at                                                                                                                                                              ,
by leaving such true copy with                                                                                                               , the person who
is apparently in charge, on                                                , 20__, during normal working hours, at to-wit:                                   o'clock, _.M.
            Service on Corporations, Limited Partnerships or Unincorporated Associations Subject to Suit Under a Common Name
          Upon                                                                                                                                                           , by
                       (NAME OF CORPORATION, LIMITED PARTNERSHIP, ETC.)
           (a)         delivering such true copy, personally and in person, to                                                                           , who is a/the
                       *                                                 thereof; OR
           (b)         leaving such true copy with , the person who is apparently in charge of the
                       office of                                                , who is a/the *                                                               thereof;
                       *Specify registered agent, officer (by title), director, general partner, managing agent
at                                                                                 , on                     , 20__, at o'clock _.M.

DATED                                                         , 20__.        I further certify that I am a competent person 18 years of age or older and a
                                                                             resident of the state of service or the State of Oregon, and that I am not a party to
                                                           SHERIFF           nor an officer, director or employee of, nor attorney for any party, corporate or
                                                                             otherwise; that the person, firm or corporation served by me is the identical person,
                                                           DEPUTY            firm or corporation named in the action.
                                                                             DATED                                    , 20 _.



                                                                                                                     SIGNATURE


                                                                                                              TYPE OR PRINT NAME


                                                                                                                      ADDRESS

                                                                                                                                   Phone

          The signature lines on the left should be used only by an Oregon county sheriff or deputy; all other servers complete certificate on the
right. The Proof of Service above contains most, but not all, of the methods of service. For example, this form does not include proof of service on a
minor or incompetent person. See ORCP 7D. (2) and 7 D. (3) for complete service methods on particular parties.
** Where substituted or office service is used, the plaintiff, as soon as reasonably possible, shall cause to be mailed a true copy of the summons and
complaint to the defendant at the defendant's dwelling house or usual place of abode, together with a statement of the time, date and place at which
such service was made. Use S-N Form No. 1149 or equivalent.
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                                            6/2/2023 6:07  Filed 06/30/23       Page 6 of 20
                                               23CV22298


 1

 2

 3

 4                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                               FOR THE COUNTY OF MULTNOMAH

 6

 7   TAYLOR ERIC VAUGHN                                Case No.:

 8         Plaintiff,                                  COMPLAINT

 9                                                     Employer Whistleblowing Retaliation (ORS
                                                       659A.199); Employer Discrimination and
10                                                     Retaliation (ORS 659A.230); Discrimination
     vs.                                               and Retaliation (ORS 659A.030); and
11
                                                       Wrongful Termination.
12
                                                       CLAIMS NOT SUBJECT
     WORKDAY, INC. a foreign business
13                                                     TO MANDATORY
     corporation.
                                                       ARBRITRATION
14
     Defendant.                                        DEMAND FOR JURY TRIAL
15
                                                       Prayer Amount: $5,442,269
16

17                                                     Filing Fee: $884 ORS 21.160(1)(d)

18

19

20   Plaintiff TAYLOR ERIC VAUGHN (Hereinafter “Mr. Vaughn”) alleges:
21                                         I. INTRODUCTION
22                                                   1.
23          This is an action for declaratory, injunctive, and monetary relief, including economic
24   damages and non-economic damages, attorney fees and costs, and, following amendment,
25   punitive damages, to redress defendant’s discriminatory and retaliatory unlawful employment
26   practices in violation of Mr. Vaughn’s statutory rights.


     Page - 1 COMPLAINT                                                                        O’Neil Law LLC
                                                                               8755 SW Citizens Drive, Suite 202
                                                                                     Wilsonville, Oregon 97070
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 1                                          II. JURISDICTION

 2                                                    2.

 3            This Court has jurisdiction over Mr. Vaughn’s claims for relief under Article VII, section

 4   9 of the Oregon Constitution and because the claims arose out of defendant’s acts and omissions

 5   within the State of Oregon.

 6                                               III. VENUE

 7                                                    3.

 8         Venue is proper in Multnomah County pursuant to ORS 14.080 (2). Defendant Workday,

 9   Inc. (Hereinafter Workday) is a Delaware Corporation registered with the Oregon Secretary of

10   State as a foreign business corporation, authorized to do business in the State of Oregon.

11   Workday conducts regular, sustained business activities in Multnomah County by providing

12   services to many business customers within the county.

13                                             IV. THE PARTIES

14                                                    4.

15            At all material times alleged herein, Mr. Vaughn aka Eric Vaughn was a Citizen of the

16   United States and the State of Oregon residing in Corvallis, Oregon. Mr. Vaughn was employed

17   by Workday as the company’s Senior Systems Engineer. He was employed with the company for

18   approximately 11 years until he was unlawfully terminated on January 31, 2023.

19                                                    5.

20            Workday is a cloud-based financial management, human capital management, and

21   student information system software vendor. In fiscal year 2023, the company reported total

22   revenues of approximately $6.22 billion, an increase of 21.0% from fiscal 2022. Customer

23   subscription revenues were $5.57 billion, an increase of 22.5% from the prior year. The company

24   reports having approximately 17,744 employees, and just under 10,000 customers.

25   ///

26   ///


     Page - 2 COMPLAINT                                                                         O’Neil Law LLC
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 1                                   V. FACTUAL ALLEGATIONS

 2                                                   6.

 3          Workday employed Mr. Vaughn in early 2012 as a systems engineer working within the

 4   company’s Infrastructure group out of Pleasanton, California. Workday would promote Mr.

 5   Vaughn to Senior Systems Engineer in approximately 2015. He would later transfer to the

 6   company’s Oregon office in Beaverton in 2016. Mr. Vaughn held many roles with the company

 7   all related to systems engineering, administration, or automation development which

 8   encompassed day to day operations, several company projects, and writing automation software.

 9   He and his group were primarily responsible for onboarding internal customers to the company’s

10   private cloud. The automation software Mr. Vaughn created for Workday allowed these tasks to

11   be done more efficiently and effectively to the substantial benefit of the company.

12                                                   7.

13          As Workday grew, its Infrastructure group expanded eventually leading to having three

14   different teams of systems engineers located in different parts of the globe. There was the USA

15   team consisting of US citizens or legal residents based in the United States. There was an Ireland

16   team consisting of employees who were Irish or European Union citizens or legal residents

17   located in Ireland. There was a New Zealand team consisting of employees who were New

18   Zealand citizens or European Union citizens, or legal residents based in that country. As a US

19   citizen, Mr. Vaughn was on the USA team.

20                                                   8.

21          Workday’s Infrastructure group played a key role in the company’s operations. It was

22   responsible for the servers and networking operations in the company’s many data centers in

23   terms of the actual hardware, operating systems, and various other critical operation needs.

24                                                   9.

25           As part of his employment responsibilities, Mr. Vaughn, and the other engineers on all

26   teams were to participate in a on-call rotation. Mr. Vaughn participated in the Systems on- call


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 1   rotation. On-call work consisted of being available to trouble shoot any server infrastructure

 2   issue in any of the company's data centers throughout the world. Early on in Mr. Vaughn’s

 3   employment with the company The US team and the Irish team would share the on-call

 4   responsibilities equally. This consisted of each team member doing one week on-call duties

 5   every 8 to 10 weeks. The on call person would be on-call anytime the company’s offices were

 6   not open. This required the on-call person from the US team to be available during the week

 7   from 6 pm in the evening till 1 am the next day, throughout weekends, and holidays. On-call

 8   responsibilities would often fall on weekends early Saturday, through Sunday.

 9                                                   10.

10           In approximately 2013 or 2014, Workday instructed the USA team to take on all of the

11   on-call duties responsibilities with the Ireland team no longer having to participate. In 2015

12   when the New Zealand team came into existence, it also did not have to participate in these on-

13   call duties.

14                                                   11.

15           In addition, Mr. Vaughn and his team were expected to be on duty during what is called

16   Friday Patch Watch when doing the on-call duties. This was when the company would do

17   maintenance on its software and service products. During Friday Patch Watch, Mr. Vaughn was

18   expected to be on duty from 6:00 pm until 11:00 pm Friday evenings when doing on-call duties.

19   Then perform on-call duties from 3:00 am Saturday (or possibly earlier), and though-out the

20   weekend until 2:15 PM Sunday afternoon. As well as on-call duties during the week from 11:00

21   PM to 1:00 AM, and holidays. These duties would constantly change as the company grew, but

22   what was consistent throughout is Mr. Vaughn and the USA team had to handle all of these

23   responsibilities when the other teams in Ireland and New Zealand did not.

24                                                   12.

25           At some point the on-call responsibilities changed and Mr. Vaughn and his team were

26   expected to perform on-call duty for two weeks in a row. As people left the department or


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 1   company, the number of people in the Systems on-call rotation shrank down to 7 by

 2   approximately 2021. Because of the two weeks of on-call in a row, Mr. Vaughn and his team

 3   were expected to be on-call for 2 weeks out of every 7. Mr. Vaughn and his team were

 4   essentially stuck in their homes for 2-3 weeks out of every 7.

 5                                                   13.

 6          Mr. Vaughn’s quality of life substantially diminished due to Workday’s ordering him and

 7   his US team co-workers to take on the additional responsibilities alleged in paragraphs 10,11,

 8   and 12 above. Mr. Vaughn had to work continuous long hours that often consisted of late hours,

 9   weekend, and holiday work, impacting his overall quality of life. The work life balance Workday

10   promoted, became nonexistent. Mr. Vaughn and his US team co-workers raised concerns about

11   this to Workday management.

12                                                   14.

13                  In approximately 2016, Mr. Vaughn reported his concerns to his manager Vince

14   Dean (Dean) about the preferential treatment the Irish and New Zealand teams were getting

15   when it came to on-call responsibilities. He told Dean that this was unfair. He reported to Dean

16   that this was impacting his life and that of his teammates. Mr. Vaughn would later report this to

17   Wendell Joyner (Joyner) after Dean was promoted to Senior Manager. While Joyner was able to

18   secure some relief with the Friday Patch coverage, no action was ever taken by decision makers

19   to correct the unfair treatment concerning on-call duties.

20                                                   15.

21          On or between November 1, 2021 and November 30, 2021, Mr. Vaughn drafted a letter

22   on behalf of the USA team colleagues raising grievances associated with the unfairness in the on

23   call duties and Friday Patch Duties. Workdays’ management knew or had reason to know Mr.

24   Vaughn was the one raising these unfair employment practices.

25   ///

26   ///


     Page - 5 COMPLAINT                                                                         O’Neil Law LLC
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 1                                                      16.

 2          In an effort to end Workdays’ discriminatory practices, in December 31, 2021, and again

 3   in January 13, 2022, Mr. Vaughn filed complaints with Workdays HR department reporting that

 4   he and his coworkers were being discriminated against with respect to the terms and conditions

 5   of their employment due to their nationality as US citizens and legal residents based in the

 6   United States. Mr. Vaughn’s December 31,2021 complaint identified Dean and Workday Vice

 7   President of Platform Infrastructure, Matt Morgensen (Hereafter Morgensen) as directly

 8   responsible for this discrimination. Workday’s HR department notified Mr. Vaughn’s managers

 9   of his concerns, but no action was taken to address the discrimination concerns.

10                                                      17.

11          On March 23, 2022, Mr. Vaughn submitted dual filing of a charge of discrimination

12   under state and federal law with the Equal Opportunity Employment Commission (EEOC)

13   against Workday. Workday was notified of Mr. Vaughn’s EEOC complaint. On March 31, 2022,

14   EEOC decided not to take any action. Mr. Vaughn continued to raise his discrimination concerns

15   with Morgensen and other management on and between March 24, 2022, and June of 2022. On

16   March 27, 2023, Oregon Bureau of Labor and Industries (BOLI) issued to Mr. Vaughn a right to

17   sue letter with respect to his state law claims.

18                                                      18.

19          Sometime between July and September of 2022 Workday finally had the Irish and New

20   Zealand teams participate on the on-call duties.

21                                                      19.

22          On January 31, 2023, Workday through its Vice President of Private Cloud Infrastructure

23   based in Ireland, Fred Sullivan terminated Mr. Vaughn from his employment.

24                                                      20.

25

26


     Page - 6 COMPLAINT                                                                         O’Neil Law LLC
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 1          On March 27, 2023, Mr. Vaughn requested a copy of his personnel file to Workday.

 2   Workday acknowledged receipt of the request. To this date the personnel file has never been

 3   produced to Mr. Vaughn in violation of ORS 652.750.

 4                                     VI. CLAIMS FOR RELIEF

 5                                    FIRST CLAIM FOR RELIEF

 6            Discrimination and Retaliation for Good Faith Reporting – ORS 659A.199
                                   Against Defendant Workday
 7
                                                     21.
 8
            Mr. Vaughn realleges paragraph 1 through 20 as though fully set forth herein.
 9

10
                                                     22.
11
            Mr. Vaughn engaged in protected activity by reporting to Workday of it unlawfully
12
     discriminating against him and his fellow workers on the USA team on work conditions.
13
                                                     23.
14
            After Mr. Vaughn engaged in this protected activity, Workday unlawfully discriminated
15
     and retaliated against him by further impacting the terms and conditions of his employment and
16
     ultimately terminating his employment in violation of ORS 659 A.199.
17
                                                     24.
18
            Mr. Vaughn is entitled to injunctive relief, including but not limited to reinstatement.
19
                                                     25.
20
            As a direct and proximate cause of Workday’s unlawful actions, Mr. Vaughn has suffered
21
     economic losses in the form of back pay, front pay, lost benefits, and out-of-pocket expenses
22
     including prejudgment interest, in an amount to be proven at trial, currently estimated to be
23
     $2,942,269 plus interest thereon at the statutory rate of 9%.
24
                                                     26.
25
            As a direct and proximate result of Workday unlawful actions, Mr. Vaughn has suffered
26
     embarrassment, anxiety, humiliation, anger, emotional distress, inconvenience, damage to his

     Page - 7 COMPLAINT                                                                         O’Neil Law LLC
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 1   professional reputation in the technology industry, loss of enjoyment of life and is entitled to an

 2   award of non-economic damages in an amount that the jury determines to be reasonable under

 3   the circumstances, but not to exceed $2,500,000.

 4

 5                                                   27.

 6           Mr. Vaughn has hired legal counsel to prosecute his claims and is entitled to his

 7   reasonable attorney’s fees and costs incurred, including expert witness fees, pursuant to ORS

 8   659A.885 and ORS 20.107.

 9                                                   28.

10           Workday acted with malice, and its actions were intentional and willful. Workday further

11   acted with reckless and outrageous indifference to a highly unreasonable risk of harm to Mr.

12   Vaughn and a conscious indifference to his health, and welfare as an individual, and employee.

13   Such conduct exceeds the bounds of social toleration and is of the type that punitive damages

14   deter. Therefore, Mr. Vaughn anticipates amending this Complaint, and reserves the right to do

15   so pursuant to ORS 31.725 to assert a claim for punitive damages.

16                                    SECOND CLAIM FOR RELIEF

17              Unlawful Discrimination and Retaliation in Violation of ORS 659A.230
                                                29.
18
             Mr. Vaughn realleges paragraph 1 through 20 as though fully set forth herein.
19
                                                     30.
20
             Mr. Vaughn engaged in protected activity by communicating with the EEOC of
21
     Workdays discriminatory practices and filing an EEOC charge of discrimination. Workday was
22
     notified of this protected activity.
23
                                                     31.
24
             After Mr. Vaughn engaged in this protected activity, Workday unlawfully discriminated
25
     and retaliated against him by further impacting the terms and conditions of his employment and
26
     ultimately terminating his employment in violation of ORS 659A.230.

     Page - 8 COMPLAINT                                                                          O’Neil Law LLC
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 1                                                   32.

 2          Mr. Vaughn is entitled to injunctive relief, including but not limited to reinstatement.

 3   ///

 4                                                   33.

 5          As a direct and proximate cause of Workday’s unlawful actions, Mr. Vaughn has suffered

 6   economic losses in the form of back pay, front pay, lost benefits, and out-of-pocket expenses

 7   including prejudgment interest, in an amount to be proven at trial, currently estimated to be

 8   $2,942,269 plus interest thereon at the statutory rate of 9%.

 9                                                   34.

10          As a direct and proximate result of Workday unlawful actions, Mr. Vaughn has suffered

11   embarrassment, anxiety, humiliation, anger, emotional distress, inconvenience, damage to his

12   professional reputation in the software engineering industry, loss of enjoyment of life and is

13   entitled to an award of non-economic damages in an amount that the jury determines to be

14   reasonable under the circumstances, but not to exceed $2,500,000.

15                                                   35.

16          Mr. Vaughn has hired legal counsel to prosecute his claims and is entitled to his

17   reasonable attorney’s fees and costs incurred, including expert witness fees, pursuant to ORS

18   659A.885 and ORS 20.107.

19                                                   36.

20          Workday acted with malice, and its actions were intentional and willful. Workday further

21   acted with reckless and outrageous indifference to a highly unreasonable risk of harm to Mr.

22   Vaughn and a conscious indifference to his health and welfare as an individual, and employee.

23   Such conduct exceeds the bounds of social toleration and is of the type that punitive damages

24   deter. Therefore, Mr. Vaughn anticipates amending this Complaint, and reserves the right to do

25   so pursuant to ORS 31.725 to assert a claim for punitive damages.

26   ///


     Page - 9 COMPLAINT                                                                         O’Neil Law LLC
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                                                                                             Fax: (503) 570-8757
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 1   ///

 2   ///

 3   ///

 4                                    THIRD CLAIM FOR RELIEF

 5   Unlawful Discrimination and Retaliation in Violation of ORS 659A.030 Against Defendant

 6                                               Workday

 7                                                   37.

 8          Mr. Vaughn realleges paragraph 1 through 20 as though fully set forth herein.

 9                                                   38.

10          Workday violated ORS 659A.030(a)-(b) by subjecting Mr. Vaughn to discriminatory

11   terms and conditions of employment because of his nationality. The discriminatory terms and

12   conditions of employment and hostile work environment were both because of Mr. Vaughn’s

13   nationality. Ultimately, the nationality-based discrimination by Workday resulted in and caused

14   Mr. Vaughn’s termination.

15                                                   39.

16          Workday violated ORS 659A.030 (f) by retaliating against Mr. Vaughn, creating a hostile

17   work environment, because he opposed the company’s unlawful practices. Ultimately, Workday

18   retaliatory actions lead to Mr. Vaughn’s termination.

19                                                   40.

20          Mr. Vaughn is entitled to injunctive relief, including but not limited to reinstatement.

21                                                   41.

22          As a direct and proximate cause of Workday’s unlawful actions, Mr. Vaughn has suffered

23   economic losses in the form of back pay, front pay, lost benefits, and out-of-pocket expenses

24   including prejudgment interest, in an amount to be proven at trial, currently estimated to be

25   $2,942,269 plus interest thereon at the statutory rate of 9%.

26                                                   42.


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 1          As a direct and proximate result of Workday unlawful actions, Mr. Vaughn has suffered

 2   embarrassment, anxiety, humiliation, anger, emotional distress, inconvenience, damage to his

 3   professional reputation in the software engineering industry, loss of enjoyment of life and is

 4   entitled to an award of non-economic damages in an amount that the jury determines to be

 5   reasonable under the circumstances, but not to exceed $2,500,000.

 6                                                   43.

 7          Mr. Vaughn has hired legal counsel to prosecute his claims and is entitled to his

 8   reasonable attorney’s fees and costs incurred, including expert witness fees, pursuant to ORS

 9   659A.885 and ORS 20.107.

10                                                   44.

11          Workday acted with malice, and its actions were intentional and willful. Workday further

12   acted with reckless and outrageous indifference to a highly unreasonable risk of harm to Mr.

13   Vaughn and a conscious indifference to his health and welfare as an individual, and employee.

14   Such conduct exceeds the bounds of social toleration and is of the type that punitive damages

15   deter. Therefore, Mr. Vaughn anticipates amending this Complaint, and reserves the right to do

16   so pursuant to ORS 31.725 to assert a claim for punitive damages.

17                                      FOURTH CLAIM FOR RELIEF

18                                            Wrongful Termination

19                                                   45.

20          Mr. Vaughn realleges paragraph 1 through 20 as though fully set forth herein.

21                                                   46.

22          At all material times, the public policy of the State of Oregon is to prohibit an employer

23   from discriminating and retaliating against employees for reporting to state and federal agencies

24   in charge of investigating unlawful employer discrimination. This public policy embodies in

25   common law, statutes, and regulations of the State of Oregon.

26                                                   47.


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 1           At all material times, the public policy of the State of Oregon is to prohibit an employer

 2   from discriminating and retaliating against employees who report to the employer of unlawful

 3   behavior by the employer. This public policy embodies common law, statutes, and regulations of

 4   the State of Oregon.

 5                                                   48.

 6           Defendant Workday unlawfully discharged Mr. Vaughn for pursuing one or more of

 7   these rights.

 8                                                   49.

 9           Mr. Vaughn remedies under state and federal statutory law provide an inadequate remedy

10   for the damage Workday has inflicted on him.

11                                                   50.

12           As a direct and proximate cause of Workday’s unlawful actions, Mr. Vaughn has suffered

13   economic losses in the form of back pay, front pay, lost benefits, and out-of-pocket expenses

14   including prejudgment interest, in an amount to be proven at trial, currently estimated to be

15   $2,942,269 plus interest thereon at the statutory rate of 9%.

16                                                   51.

17           As a direct and proximate result of Workday unlawful actions, Mr. Vaughn has suffered

18   embarrassment, anxiety, humiliation, anger, emotional distress, inconvenience, damage to his

19   professional reputation in the software engineering industry, loss of enjoyment of life and is

20   entitled to an award of non-economic damages in an amount that the jury determines to be

21   reasonable under the circumstances, but not to exceed $2,500,000.

22                                                   52.

23           Workday acted with malice, and its actions were intentional and willful. Workday further

24   acted with reckless and outrageous indifference to a highly unreasonable risk of harm to Mr.

25   Vaughn and a conscious indifference to his health and welfare as an individual, and employee.

26   Such conduct exceeds the bounds of social toleration and is of the type that punitive damages


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 1   deter. Therefore, Mr. Vaughn anticipates amending this Complaint, and reserves the right to do

 2   so pursuant to ORS 31.725 to assert a claim for punitive damages.

 3                                       PRAYER FOR RELIEF

 4   WHEREFORE, Plaintiff Taylor Eric Vaughn prays for judgment against Defendant Workday,

 5   LLC as follows:

 6      1. On Plaintiff’s First Claim for Relief:

 7              a. A declaration that defendant violated plaintiff’s statutorily protected right to be

 8                 free from discrimination and retaliation for engaging in protective activity and

 9                 opposing unlawful employment practices.

10              b. Injunctive relief, including reinstatement to his position;

11              c. An award of economic losses in the form of back pay, front pay, lost benefits, and

12                 out-of-pocket expenses, including prejudgment interest, in an amount estimated to

13                 be $2,942,269, plus interest thereon at the statutory rate of 9%;

14              d. An award of non-economic damages in the amount of $2,500,000.

15              e. Plaintiff’s attorney’s fees, expert fees, and costs incurred herein.

16      2. On Plaintiff’s Second Claim for Relief:

17              a. A declaration that defendant violated plaintiff’s statutorily protected right to be

18                 free from discrimination and retaliation for engaging in protective activity and

19                 opposing unlawful employment practices;

20              b. Injunctive relief, including reinstatement to his position;

21              c. An award of economic losses in the form of back pay, front pay, lost benefits, and

22                 out-of-pocket expenses, including prejudgment interest, in an amount estimated to

23                 be $2,942,269 plus interest thereon at the statutory rate of 9%;

24              d. An award of non-economic damages in the amount of $2,500,000.

25              e. Plaintiff’s attorney’s fees, expert fees, and costs incurred herein.

26      3. On Plaintiff’ Third Claim for Relief:


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 1             a. A declaration that defendant violated plaintiff’s statutorily protected right to be

 2                 free from discrimination and retaliation for engaging in protective activity and

 3                 opposing unlawful employment practices;

 4             b. Injunctive relief, including reinstatement to his position;

 5             c. An award of economic losses in the form of back pay, front pay, lost benefits,and

 6                 out-of-pocket expenses, including prejudgment interest, in an amount estimated to

 7                 be $2,942,269 plus interest thereon at the statutory rate of 9%;

 8             d. An award of non-economic damages in the amount of $2,500,000.

 9             e. Plaintiff’s attorney’s fees, expert fees, and costs incurred herein.

10      4. On Plaintiff’s Fourth Claim for Relief:

11             a. A declaration that defendant violated plaintiff’s statutorily protected right to be

12                 free from discrimination and retaliation for engaging in protective activity and

13                 opposing unlawful employment practices;

14             b. Injunctive relief, including reinstatement to his position;

15             c. An award of economic losses in the form of back pay, front pay, lost benefits,and

16                 out-of-pocket expenses, including prejudgment interest, in an amount estimated to

17                 be $2,942,269 plus interest thereon at the statutory rate of 9%;

18             d. An award of non-economic damages in the amount of $2,500,000.

19             e. For plaintiff’s costs and disbursements incurred herein.

20      5. Any further or alternative relief in favor of plaintiff that the court deems appropriate.

21      6. Plaintiff demands a jury trial.

22   DATED this ___ of June 2023.

23                                                O’Neil Law LLC

24                                                /s/ Shawn M. O’Neil__________________
                                                  Shawn M. O’Neil OSB #913880
25                                                Tel: 503.570.8755
                                                  Email: smo@shawnoneil.com
26
                                                  Attorney for Plaintiff Taylor Eric Vaughn


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                                                      AFFIDAVIT OF SERVICE



         State of Oregon                                     County of Multnomah                                                 Circuit Court


         Case Number; 23CV 22298

         Plaintiff;
         TAYLOR ERIC VAUGHN

         vs.


         Defendant;
         WORKDAY INC. a foreign business corporation

         Received by R & R Process Serving Company LLC to be served on WORKDAY INC. C/0 CT
         CORPORATION SYSTEM-REGISTERED AGENT, 780 COMMERCIAL STREET SE STE 100, SALEM, OR
         97301.


         I, Roger Rowell, Process Server, being duly sworn, depose and say that on the 5th day of June, 2023 at
         2:40 pm, I:

         served the within named corporation by delivering a true copy of the Summons and Complaint
         personally and in person to CT CORPORATION SYSTEM (EDEN TITUS) the Registered Agent for the
         corporation.


         I hereby certify that I am a competent person over the age of eighteen years, a resident of the State of
         Oregon; and not a party to nor an officer, director, or employee of, nor attorney for any party, corporate or
         otherwise, in the within entitled action.




                                                                                     Roger R< well, Process Server
         Subscribed and Sworn to before me on the                 ,                  Date;  (
         day of                                    by the affiant
            o is personally known to me.                                             R & R Process Serving Company LLC
                                                                                     P.O BOX 2794
                                                                                     SALEM, OR 97308
         NOTARY PUBLIC
                                                                                     (503) 508-5611

                                                                                     Our Job Serial Number; RPC-2023000329
              OFFICIAL STAMP
           RHONDA RANAE ROWELL
          NOTARY PUBLIC - OREGON        Copyright© 1992-2023 Database Services, Inc. - Process Server's Toolbox V8.On
          COMMISSION NO. 1013902
MY COMMISSION EXPIRES JUNE 23, 2025
